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 7

 8
                                 UNITED STATES DISTRICT COURT

 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11
     RICHARD A. KONG, ROBERT A.                 ) Case No.:
12   CRUZALEGUI, MATTHEW W.                     )
     HEIDEN, and CASHAY L.                      ) CLASS ACTION COMPLAINT
13
     CLAYBORN individually and on               )
14   behalf of all others similarly situated,   )
15                                              )
                   Plaintiffs,                  )
16
                                                )
17         vs.                                  )
                                                )
18
     TRADER JOE’S COMPANY, THE                  )
19   BOARD OF DIRECTORS OF                      )
20
     TRADER JOE’S COMPANY, THE                  )
     INVESTMENT COMMITTEE, and                  )
21   JOHN DOES 1-30,                            )
22                                              )
                   Defendants.                  )
23

24

25

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     ______________________________________________________________________________________________
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                                         CLASS ACTION COMPLAINT
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 1
           Plaintiffs Richard A. Kong, Robert A. Cruzalegui, Mathew W. Heiden, and Cashay
 2
     L. Clayborn (“Plaintiffs”), by and through their attorneys, on behalf of Trader Joe’s
 3
     Company Retirement Plan (the “Plan”),1 themselves and all others similarly situated, state
 4
     and allege as follows:
 5
                                  I.       INTRODUCTION
 6
           1.     This is a class action brought pursuant to §§ 409 and 502 of the Employee
 7
     Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1109 and 1132, against
 8
     the Plan’s fiduciaries, which include Trader Joe’s Company (“Trader Joe’s” or the
 9
     “Company”), the Board of Directors of Trader Joe’s Company (“Board”) and its members
10
     during the Class Period, and the Investment Committee (“Committee”) and its members
11
     during the Class Period for breaches of their fiduciary duties.
12         2.     Defined contribution retirement plans, like the Plan, confer tax benefits on
13   participating employees to incentivize saving for retirement. As of the end of 2015,
14   Americans had approximately $6.7 trillion in assets invested in defined contribution plans.
15   See INVESTMENT COMPANY INSTITUTE, Retirement Assets Total $24.0 Trillion in Fourth
16   Quarter          2015             (Mar.       24,          2016),         available         at
17   https://www.ici.org/research/stats/retirement/ret_15_q4;          PLAN   SPONSOR,        2015
18   Recordkeeping Survey (June 2015), available at http://www.plansponsor.com/2015-
19   Recordkeeping-Survey/.
20         3.     In a defined contribution plan, participants’ benefits “are limited to the value
21   of their own investment accounts, which is determined by the market performance of
22   employee and employer contributions, less expenses.” Tibble v. Edison Int’l, 135 S. Ct.
23   1823, 1826 (2015) (Tibble I). Thus, the employer has no incentive to keep costs low or to
24

25

     1
26     The Plan is a legal entity that can sue and be sued. ERISA § 502(d)(1), 29 U.S.C. §
27   1132(d)(1). However, in a breach of fiduciary duty action such as this, the Plan is not a
     party. Rather, pursuant to ERISA § 409, and the law interpreting it, the relief requested in
28
     this action is for the benefit of the Plan and its participants.

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                                         CLASS ACTION COMPLAINT
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 1
     closely monitor the Plan to ensure every investment remains prudent, because all risks
 2
     related to high fees and poorly-performing investments are borne by the participants.
 3
           4.     To safeguard Plan participants and beneficiaries, ERISA imposes strict
 4
     fiduciary duties of loyalty and prudence upon employers and other plan fiduciaries. 29
 5
     U.S.C. § 1104(a)(1). These twin fiduciary duties are “the highest known to the law.”
 6
     Tibble v. Edison Int’l, 843 F.3d 1187, 1197 (9th Cir. Dec. 30, 2016) (en banc). Fiduciaries
 7
     must act “solely in the interest of the participants and beneficiaries,” 29 U.S.C. §
 8
     1104(a)(1)(A), with the “care, skill, prudence, and diligence” that would be expected in
 9
     managing a plan of similar scope. 29 U.S.C. § 1104(a)(1)(B).
10
           5.     The Plan has at all times during the Class Period maintained over 1.2 billion
11
     dollars in assets (including having over 1.7 billion dollars in assets in 2018), qualifying it
12   as a large plan in the defined contribution plan marketplace, and among the largest plans in
13   the United States. These assets are entrusted to the care of the Plan’s fiduciaries. As a
14   large plan, the Plan had substantial bargaining power regarding the fees and expenses that
15   were charged against participants’ investments.       Defendants, however, did not try to
16   reduce the Plan’s expenses or exercise appropriate judgment to scrutinize each investment
17   option that was offered in the Plan to ensure it was prudent.
18         6.     Plaintiffs allege that during the putative Class Period (June 29, 2014 through
19   the date of judgment) Defendants, as “fiduciaries” of the Plan, as that term is defined
20   under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), breached the duties they owed to the
21   Plan, to Plaintiffs, and to the other participants of the Plan by, inter alia, (1) failing to
22   objectively and adequately review the Plan’s investment portfolio with due care to ensure
23   that each investment option was prudent, in terms of cost; and (2) maintaining certain
24   funds in the Plan despite the availability of identical or similar investment options with
25   lower costs and/or better performance histories.
26         7.     To make matters worse, Defendants failed to utilize the lowest cost share
27   class for many of the mutual funds within the Plan.
28



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 1
           8.      Defendants’ mismanagement of the Plan, to the detriment of participants and
 2
     beneficiaries, constitutes a breach of the fiduciary duties of prudence and loyalty, in
 3
     violation of 29 U.S.C. § 1104. Their actions were contrary to actions of a reasonable
 4
     fiduciary and cost the Plan and its participants millions of dollars.
 5
           9.      Based on this conduct, Plaintiffs assert claims against Defendants for breach
 6
     of the fiduciary duties of loyalty and prudence (Count One) and failure to monitor
 7
     fiduciaries (Count Two).
 8
                             II.   JURISDICTION AND VENUE
 9
           10.     This Court has subject matter jurisdiction over this action pursuant to 28
10
     U.S.C. § 1331 because it is a civil action arising under the laws of the United States, and
11
     pursuant to 29 U.S.C. § 1332(e)(1), which provides for federal jurisdiction over actions
12   brought under Title I of ERISA, 29 U.S.C. § 1001, et seq.
13         11.     This Court has personal jurisdiction over Defendants because they are
14   headquartered and transact business in this District, reside in this District, and/or have
15   significant contacts with this District, and because ERISA provides for nationwide service
16   of process.
17         12.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.
18   § 1132(e)(2), because some or all of the violations of ERISA occurred in this District and
19   Defendants reside and may be found in this District. Venue is also proper in this District
20   pursuant to 28 U.S.C. § 1391 because Defendants do business in this District and a
21   substantial part of the events or omissions giving rise to the claims asserted herein
22   occurred within this District.
23                                      III.   PARTIES
24         Plaintiffs
25         13.     Plaintiff Richard A. Kong (“Kong”) resides in Oak Park, California. During
26   his employment, Plaintiff Kong participated in the Plan, investing in the options offered by
27   the Plan and which are the subject of this lawsuit. There was a final distribution of his
28   Plan account in 2018.

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 1
           14.      Plaintiff Robert A. Cruzalegui (“Cruzalegui”) resides in Laguna Woods,
 2
     California. During his employment, Plaintiff Cruzalegui participated in the Plan, investing
 3
     in the options offered by the Plan and which are the subject of this lawsuit. He continues
 4
     to be a Plan participant.
 5
           15.      Plaintiff Mathew W. Heiden (“Heiden”) resides in Portland, Oregon. During
 6
     his employment, Plaintiff Heiden participated in the Plan, investing in the options offered
 7
     by the Plan and which are the subject of this lawsuit.          He continues to be a Plan
 8
     participant.
 9
           16.      Plaintiff Cashay L. Clayborn (“Clayborn”) resides in Decatur, Georgia.
10
     During her employment, Plaintiff Clayborn participated in the Plan, investing in the
11
     options offered by the Plan and which are the subject of this lawsuit. She continues to be a
12   Plan participant.
13         17.      Each Plaintiff has standing to bring this action on behalf of the Plan because
14   each of them participated in the Plan and were injured by Defendants’ unlawful conduct.
15   Plaintiffs are entitled to receive benefits in the amount of the difference between the value
16   of their accounts currently, or as of the time their accounts were distributed, and what their
17   accounts are or would have been worth, but for Defendants’ breaches of fiduciary duty as
18   described herein.
19         18.      Plaintiffs did not have knowledge of all material facts (including, among
20   other things, the investment alternatives that are comparable to the investments offered
21   within the Plan, comparisons of the costs and investment performance of Plan investments
22   versus available alternatives within similarly-sized plans, total cost comparisons to
23   similarly-sized plans, and information regarding other available share classes) necessary to
24   understand that Defendants breached their fiduciary duties and engaged in other unlawful
25   conduct in violation of ERISA until shortly before this suit was filed. Further, Plaintiffs
26   did not have and do not have actual knowledge of the specifics of Defendants’ decision-
27   making process with respect to the Plan, including Defendants’ processes (and execution
28   of such) for selecting, monitoring, and removing Plan investments, because this

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 1
     information is solely within the possession of Defendants prior to discovery.2 Moreover,
 2
     having never managed a large 401(k) plan such as the Plan, Plaintiffs lacked actual
 3
     knowledge of reasonable fee levels and prudent alternatives available to such plans. For
 4
     purposes of this Complaint, Plaintiffs have drawn reasonable inferences regarding these
 5
     processes based upon (among other things) the facts set forth herein.
 6
                    Defendants
 7
                          Company Defendant
 8
             19.    Trader Joe’s is the Plan sponsor. Trader Joe’s 2018 5500 Filing with U.S.
 9
     Dep’t of Labor (“2018 Form 5500”) at 1. Its corporate headquarters is located at 800
10
     South Shamrock Avenue, Monrovia, California. Id. Trader Joe’s is a privately owned
11
     American chain of grocery stores established in 1967 by its founder Joe Coulombe.3 By
12   November of 2019, Trader Joe’s was considered a competitor in “fresh format” grocery
13   stores. Id. Trader Joe’s had over 503 stores nationwide in 42 states and Washington, D.C.
14   in 2019. Id.
15           20.    The Company is a fiduciary of the Plan, within the meaning of ERISA
16   Section 3(21)(A), 29 U.S.C. § 1002(21)(A) for several reasons. First, the 2018 SPD
17   identifies Trader Joe’s as the “Plan Administrator.” See Trader Joe’s Retirement Plan
18   Summary Plan Description, January 1, 2018 (“2018 SPD”) at 17.
19           21.    Second, as part of its fiduciary responsibilities, Trader Joe’s designated
20   Capital Research & Management Co. (“Capital Management”), as the Plan’s recordkeeper.
21   Id and see also, the 2018 Form 5500 at Schedule C, page 3. Trader Joe’s also appointed
22

23
     2
24      See Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 598 (“If Plaintiffs cannot state a
     claim without pleading facts which tend systematically to be in the sole possession of
25
     defendants, the remedial scheme of [ERISA] will fail, and the crucial rights secured by
26   ERISA will suffer.”). Indeed, several weeks prior to filing the instant lawsuit, Plaintiffs
     requested pursuant to ERISA §104(b)(4) that the Plan administrator produce several Plan
27
     governing documents, including any meeting minutes of the relevant Plan investment
28   committee(s). Their request for meeting minutes was denied.
     3
         https://www.traderjoes.com/our-story/timeline
     ______________________________________________________________________________________________
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 1
     other Plan fiduciaries in its role as a Plan Administrator and through the Board (see
 2
     below).     Under ERISA, fiduciaries with the power to appoint have the concomitant
 3
     fiduciary duty to monitor and supervise their appointees.
 4
           22.    Third, Trader Joe’s also made discretionary decisions to make matching and
 5
     discretionary contributions (explained below) to Plan participants. 2018 SPD at 3.
 6
           23.    Lastly, at all times, Trader Joe’s acted through its officers to perform Plan-
 7
     related fiduciary functions. These officers were acting in the course and scope of their
 8
     employment.
 9
                  Board Defendants
10
           24.    The Company acted through the Board to perform the Company’s Plan-
11
     related fiduciary functions. Upon information and belief, the Board appointed members of
12   the Committee. See e.g., the Investment Policy Statement of Trader Joe’s Company
13   401(k) Profit Sharing Plan (“IPS”) at 1. Accordingly, the Board had the fiduciary duty to
14   monitor and supervise the Committee while it performed its role as the fiduciary
15   responsible for selection and monitoring of the Plan’s investments.
16         25.    Accordingly, each member of the Board during the putative Class Period
17   (referred to herein as John Does 1-10) is/was a fiduciary of the Plan, within the meaning of
18   ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A), during the Class Period, because each
19   exercised discretionary authority to appoint and/or monitor the Committee, which had
20   control over Plan management and/or authority or control over management or disposition
21   of Plan assets.
22         26.    Members of the Board of Directors for Trader Joe’s during the Class Period
23   are collectively referred to herein as the “Board Defendants.”
24                Committee Defendants
25         27.    “The Investment Committee (the ‘Named Fiduciary’) is charged with
26   responsibility for selecting an appropriate mix of investment options available to Plan
27   participants.” IPS at 1. The Committee is tasked with monitoring the prudence of the Plan
28   investments. Id. The IPS provides that the Committee shall “[p]eriodically review and

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 1
     evaluate the selected investment options against established performance measurement
 2
     criteria.” Id.
 3
            28.       Additionally, the IPS “recapitulates the long-standing practices and approach
 4
     of the Named Fiduciary and sets forth the manner in which Plan investment options are
 5
     selected and monitored, consistent with the fiduciary standards of ERISA; including that
 6
     (1) all transactions undertaken by the Name Fiduciary must be in the sole interest of Plan
 7
     participants and their beneficiaries to provide benefits and only pay reasonable expenses of
 8
     Plan administration in a prudent manner.” IPS at 1.
 9
            29.       Further, if periodic monitoring of Plan investments led to the identification of
10
     investment options that fell short of expectations, and were candidates for replacement, the
11
     Committee was obligated to “[r]eview the available ‘universe’ of possible investment
12   options to identify possible alternatives that meet the criteria established under the
13   investment option selection section.” Id. at 4.
14          30.       The Committee and each of its members were fiduciaries of the Plan during
15   the Class Period, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. §1002(21)(A),
16   because each exercised discretionary authority over management or disposition of Plan
17   assets.
18          31.       The Committee and members of the Committee during the Class Period
19   (referred to herein as John Does 11-20), are collectively referred to herein as the
20   “Committee Defendants.”
21                    Additional John Doe Defendants
22          32.       To the extent that there are additional officers and employees of Trader Joe’s
23   who are/were fiduciaries of the Plan during the Class Period, or other individuals were
24   hired as investment managers for the Plan during the Class Period, the identities of whom
25   are currently unknown to Plaintiffs, Plaintiffs reserve the right, once their identities are
26   ascertained, to seek leave to join them to the instant action. Thus, without limitation,
27   unknown “John Doe” Defendants 21-30 include, but are not limited to, Trader Joe’s
28



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                                         CLASS ACTION COMPLAINT
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 1
     officers and employees who are/were fiduciaries of the Plan within the meaning of ERISA
 2
     Section 3(21)(A), 29 U.S.C. § 1002(21)(A), during the Class Period.
 3
                                      IV.    THE PLAN
 4
           33.    The Plan was established on May 1, 1965 and restated effective January 1,
 5
     2018. SPD at 16.
 6
           34.    The Plan is a “defined contribution” or “individual account” plan within the
 7
     meaning of ERISA § 3(34), 29 U.S.C. § 1002(34), in that the Plan provides for individual
 8
     accounts for each participant and for benefits based solely upon the amount contributed to
 9
     those accounts, and any income, expense, gains and losses, and any forfeitures of accounts
10
     of the participants which may be allocated to such participant’s account. Consequently,
11
     retirement benefits provided by the Plan are based solely on the amounts allocated to each
12   individual’s account.
13         Eligibility
14         35.    In general, the Plan covers “[e]mployees who have been employed for at least
15   three months by Trader Joe’s Company … or related employers and are at least 20 years of
16   age.” Report of Independent Certified Public Accountants for December 31, 2018 and
17   2017 (“2018 Auditor Report”) at p. 5.
18         Contributions
19         36.    There are several types of contributions that can be added to a participant’s
20   account: an employee salary deferral contribution, catch up contributions for employees 50
21   year of age or older and an employer matching contribution. 2018 Auditor Report at p. 5.
22   Participants can also roll over amounts from other qualified benefit or defined contribution
23   plans. SPD at 12.
24         37.    With regard to employee contributions, a participant may contribute “from
25   one to 75 percent of pretax annual compensation … .” 2018 Auditor Report at p. 5.
26         38.    Trader Joe’s made discretionary decisions regarding matching and other
27   Company contributions to Plan participants. 2018 SPD at 3.
28



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             39.     “Each year, the Employer may make a discretionary nonelective contribution
 2
      to the Plan.” SPD at 3. If Trader Joe’s elects to make a contribution to the Plan, Trader
 3
      Joe’s will pay a single amount to “be ‘allocated’ or divided among participants eligible to
 4
      share in the contribution for the Plan Year.” Id. Trader Joe’s made a lump sum elective
 5
      contribution to the Plan for each year of the Class Period.
 6
             40.     Like other companies that sponsor 401(k) plans for their employees, Trader
 7
      Joe’s enjoys both direct and indirect benefits by providing matching contributions, if any,
 8
      to Plan participants. Employers are generally permitted to take tax deductions for their
 9
      contributions to 401(k) plans at the time when the contributions are made. See generally
10
      https:/www.irs.gov/retirement-plans/plan-sponsor/401k-plan-overview.
11
             41.     Trader Joe’s also benefits in other ways from the Plan’s matching program. It
12    is well-known that “[m]any employers match their employees’ contributions to the 401(k)
13    plan in order to help attract and retain talent at their company. By hiring and retaining
14    employees with a high-caliber of talent, [a company] may save money on training and
15    attrition    costs   associated   with   unhappy    or   lower-performing    workers.”    See
16    https://www.paychex.com/articles/employee-benefits/employer-matching-401k-benefits.
17           42.     Given the size of the Plan, Trader Joe’s likely enjoyed a significant tax and
18    cost savings from offering a match.
19           Vesting
20           43.     “Participants are immediately vested in their contributions plus actual earning
21    thereon.” 2018 Auditor Report at 5. However, Employees must maintain continuous years
22    of service to be eligible to vest in any monies contributed by the Company. Id. As
23    detailed in the 2018 Auditor Report: “[p]articipants … are vested in Company
24    contributions at 20 percent after two years of service and an additional 20 percent each
25    year thereafter until 100 percent vested upon six years of service.” Id.
26           The Plan’s Investments
27           44.     Several funds were available to Plan participants for investment each year
28    during the putative Class Period.        As noted above, the Committee determines the

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 1
      appropriateness of the Plan’s investment offerings and monitors investment performance.
 2
      For 2018, the Plan offered 15 investment options, including 14 mutual funds and 1
 3
      collective trust in the form of a stable value fund.
 4
            45.    The Plan’s assets under management for all funds as of the end of 2018 was
 5
      $1,747, 009,817. 2018 Auditor Report at 3. From 2014 to 2017 the Plan’s assets under
 6
      management ranged from more than $1.2 billion to $1.7 billion.
 7
            Plan Expenses
 8
            46.    Generally, “[t]he expenses charged to the Plan may be charged pro rata to
 9
      each Participant in relation to the size of each Participant’s account balance or may be
10
      charged equally to each Participant.” SPD at 5.
11
            47.       During the Class Period, the Plan entered into a recordkeeping and
12    administrative services fee agreement with Capital Group that provided for the following
13    fee schedule:
14          Standard Ongoing Fees
15
            Number of participants with Base Fee                        Per participant
16
            account balances
17          1-25                        $5,400                +         $100
18
            26-300                              $5,400        +         $60
19

20          301-500                             $6,900        +         $55
21
            501-1,000                           $9,650        +         $50
22

23          Over 1,000                          $11,650       +         $48
24

25

26

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 1
            48.      Trader Joe’s purports to have paid no more than $48 per-participant annual
 2
      recordkeeping fees between 2014 and 2018.4
 3
                            V.    CLASS ACTION ALLEGATIONS
 4
            49.      Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal
 5
      Rules of Civil Procedure on behalf of themselves and the following proposed class
 6
      (“Class”):5
 7
                     All persons, except Defendants and their immediate family
 8                   members, who were participants in or beneficiaries of the Plan,
                     at any time between June 29, 2014 through the date of judgment
 9
                     (the “Class Period”).
10

11
            50.      The members of the Class are so numerous that joinder of all members is

12
      impractical.    The 2018 Form 5500 filed with the Dept. of Labor lists 35,474 Plan

13
      “participants with account balances as of the end of the plan year.” 2018 Form 5500 at 2.

14
            51.      Plaintiffs’ claims are typical of the claims of the members of the Class. Like

15
      other Class members, Plaintiffs participated in the Plan and have suffered injuries as a

16
      result of Defendants’ mismanagement of the Plan.                Defendants treated Plaintiffs

17
      consistently with other Class members and managed the Plan as a single entity. Plaintiffs’

18
      claims and the claims of all Class members arise out of the same conduct, policies, and

19
      practices of Defendants as alleged herein, and all members of the Class have been

20
      similarly affected by Defendants’ wrongful conduct.

21

22

23

24    4
         See Declaration of Catalina Vergara in support of Defendant Trader Joe’s Company’s
25    Motion to Dismiss, Marks et al. v. Trader Joe’s Co., No. 2:19-cv-10942-PA-JEM (C.D.
      Cal.), ECF 17-1, ¶ 10. Plaintiffs do not concede this is the total amount Plan participants
26
      were charged for recordkeeping, but for purposes of this Complaint will assume this
27    amount is accurate.
      5
28     Plaintiffs reserve the right to propose other or additional classes or subclasses in their
      motion for class certification or subsequent pleadings in this action.
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 1
            52.    There are questions of law and fact common to the Class, and these questions
 2
      predominate over questions affecting only individual Class members. Common legal and
 3
      factual questions include, but are not limited to:
 4
                   A.     Whether Defendants are fiduciaries of the Plan;
 5
                   B.     Whether Defendants breached their fiduciary duties of loyalty and
 6
                          prudence by engaging in the conduct described herein;
 7
                   C.     Whether the Board Defendants failed to adequately monitor the
 8
                          Committee and other fiduciaries to ensure the Plan was being managed
 9
                          in compliance with ERISA;
10
                   D.     The proper form of equitable and injunctive relief; and
11
                   E.     The proper measure of monetary relief.
12          53.    Plaintiffs will fairly and adequately represent the Class and have retained
13    counsel experienced and competent in the prosecution of ERISA class action litigation.
14    Plaintiffs have no interests antagonistic to those of other members of the Class. Plaintiffs
15    are committed to the vigorous prosecution of this action and anticipate no difficulty in the
16    management of this litigation as a class action.
17          54.    This action may be properly certified under Rule 23(b)(1). Class action status
18    in this action is warranted under Rule 23(b)(1)(A) because prosecution of separate actions
19    by the members of the Class would create a risk of establishing incompatible standards of
20    conduct for Defendants. Class action status is also warranted under Rule 23(b)(1)(B)
21    because prosecution of separate actions by the members of the Class would create a risk of
22    adjudications with respect to individual members of the Class that, as a practical matter,
23    would be dispositive of the interests of other members not parties to this action, or that
24    would substantially impair or impede their ability to protect their interests.
25          55.    In the alternative, certification under Rule 23(b)(2) is warranted because the
26    Defendants have acted or refused to act on grounds generally applicable to the Class,
27    thereby making appropriate final injunctive, declaratory, or other appropriate equitable
28    relief with respect to the Class as a whole.

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 1
                         VI. DEFENDANTS’ FIDUCIARY STATUS
 2                        AND OVERVIEW OF FIDUCIARY DUTIES
 3
            56.    ERISA requires every plan to provide for one or more named fiduciaries who
 4
      will have “authority to control and manage the operation and administration of the plan.”
 5
      ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1).
 6
            57.    ERISA treats as fiduciaries not only persons explicitly named as fiduciaries
 7
      under § 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who in fact perform
 8
      fiduciary functions. Thus, a person is a fiduciary to the extent “(i) he exercises any
 9
      discretionary authority or discretionary control respecting management of such plan or
10
      exercises any authority or control respecting management or disposition of its assets, (ii)
11
      he renders investment advice for a fee or other compensation, direct or indirect, with
12
      respect to any moneys or other property of such plan, or has any authority or responsibility
13
      to do so, or (iii) he has any discretionary authority or discretionary responsibility in the
14
      administration of such plan.” ERISA § 3(21)(A)(i), 29 U.S.C. § 1002(21)(A)(i).
15
            58.    As described in the “Parties” section above, Defendants were fiduciaries of
16
      the Plan because:
17
                   (a)    they were so named; and/or
18
                   (b)    they exercised authority or control respecting management or
19
                          disposition of the Plan’s assets; and/or
20
                   (c)    they exercised discretionary authority or discretionary control
21
                          respecting management of the Plan; and/or
22
                   (d)    they had discretionary authority or discretionary responsibility in the
23
                          administration of the Plan.
24
            59.    As fiduciaries, Defendants are/were required by ERISA § 404(a)(1), 29
25
      U.S.C. § 1104(a)(1), to manage and administer the Plan, and the Plan’s investments, solely
26
      in the interest of the Plan’s participants and beneficiaries and with the care, skill, prudence,
27
      and diligence under the circumstances then prevailing that a prudent person acting in a like
28
      capacity and familiar with such matters would use in the conduct of an enterprise of a like

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 1
      character and with like aims. These twin duties are referred to as the duties of loyalty and
 2
      prudence and are “the highest known to the law.” Tibble, 843 at 1197.
 3
              60.   The duty of loyalty requires fiduciaries to act with an “eye single” to the
 4
      interests of plan participants. Pegram v. Herdrich, 530 U.S. 211, 235 (2000). “Perhaps
 5
      the most fundamental duty of a [fiduciary] is that he [or she] must display . . . complete
 6
      loyalty to the interests of the beneficiary and must exclude all selfish interest and all
 7
      consideration of the interests of third persons.” Id., at 224 (quotation marks and citations
 8
      omitted).     Thus, “in deciding whether and to what extent to invest in a particular
 9
      investment, a fiduciary must ordinarily consider only factors relating to the interests of
10
      plan participants and beneficiaries . . . . A decision to make an investment may not be
11
      influenced by [other] factors unless the investment, when judged solely on the basis of its
12    economic value to the plan, would be equal or superior to alternative investments available
13    to the plan.” Dep’t of Labor ERISA Adv. Op. 88-16A, 1988 WL 222716, at *3 (Dec. 19,
14    1988) (emphasis added).
15            61.   In effect, the duty of loyalty includes a mandate that the fiduciary display
16    complete loyalty to the beneficiaries and set aside the consideration of third persons.
17            62.   ERISA also “imposes a ‘prudent person’ standard by which to measure
18    fiduciaries’ investment decisions and disposition of assets.”        Fifth Third Bancorp v.
19    Dudenhoeffer, 134 S. Ct. 2459, 2467 (2014) (quotation omitted). In addition to a duty to
20    select prudent investments, under ERISA a fiduciary “has a continuing duty to monitor
21    [plan] investments and remove imprudent ones” that exists “separate and apart from the
22    [fiduciary’s] duty to exercise prudence in selecting investments.” Tibble I, 135 S. Ct. at
23    1828.
24            63.   In addition, ERISA § 405(a), 29 U.S.C. § 1105(a) (entitled “Liability for
25    breach by co-fiduciary”), further provides that:
26                  [I]n addition to any liability which he may have under any other
27                  provision of this part, a fiduciary with respect to a plan shall be
                    liable for a breach of fiduciary responsibility of another fiduciary
28
                    with respect to the same plan in the following circumstances: (A)
                    if he participates knowingly in, or knowingly undertakes to
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 1
                   conceal, an act or omission of such other fiduciary, knowing
 2                 such an act or omission is a breach; (B) if, by his failure to
                   comply with section 404(a)(1), 29 U.S.C. §1104(a)(1), in the
 3
                   administration of his specific responsibilities which give rise to
 4                 his status as a fiduciary, he has enabled such other fiduciary to
 5
                   commit a breach; or (C) if he has knowledge of a breach by such
                   other fiduciary, unless he makes reasonable efforts under the
 6                 circumstances to remedy the breach.
 7

 8          64.    During the Class Period, Defendants did not act in the best interests of the
 9    Plan participants. Investment fund options chosen for a plan should not favor the fund
10    provider over the plan’s participants. Yet here, to the detriment of the Plan and their
11    participants and beneficiaries, the Plan’s fiduciaries included and retained in the Plan
12    many mutual fund investments that were more expensive than necessary and otherwise
13    were not justified on the basis of their economic value to the Plan.
14          65.    Based on reasonable inferences from the facts set forth in this Complaint,
15    during the Class Period Defendants failed to have a proper system of review in place to
16    ensure that participants in the Plan were being charged appropriate and reasonable fees for
17    the Plan’s investment options. Additionally, Defendants failed to leverage the size of the
18    Plan to negotiate for: (1) lower expense ratios for certain investment options maintained
19    and/or added to the Plan during the Class Period; and (2) a prudent payment arrangement
20    with regard to the Plan’s recordkeeping and administrative fees.
21          66.    As discussed below, Defendants breached fiduciary duties to the Plan and its
22    participants and beneficiaries and are liable for their breaches and the breaches of their co-
23    fiduciaries under 29 U.S.C. § 1104(a)(1) and 1105(a).
24                            VII. SPECIFIC ALLEGATIONS
25
      A.    Improper Management of an Employee Retirement Plan Can Cost the Plan’s
26          Participants Millions in Savings
27
            67.    Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must provide diversified
28
      investment options for a defined-contribution plan while also giving substantial

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 1
      consideration to the cost of those options. “Wasting beneficiaries’ money is imprudent. In
 2
      devising and implementing strategies for the investment and management of trust assets,
 3
      trustees are obligated to minimize costs.” Uniform Prudent Investor Act (the “UPIA”), §7.
 4
              68.    “The Restatement … instructs that ‘cost-conscious management is
 5
      fundamental to prudence in the investment function,’ and should be applied ‘not only in
 6
      making investments but also in monitoring and reviewing investments.’” Tibble v. Edison
 7
      Int’l, 843 F.3d 1187, 1197-98 (9th Cir. Dec. 30, 2016) (en banc) (quoting Restatement
 8
      (Third) of Trusts § 90, cmt. b) (Tibble II). See also U.S. Dep’t of Labor, A Look at 401(k)
 9
      Plan          Fees,      (Aug.       2013),       at      p.       2,       available       at
10
      https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-
11
      center/publications/a-look-at-401k-plan-fees.pdf (last visited February 21, 2020) (“You
12    should be aware that your employer also has a specific obligation to consider the fees and
13    expenses paid by your plan.”). As the Ninth Circuit described, additional fees of only
14    0.18% or 0.4% can have a large effect on a participant’s investment results over time
15    because “[b]eneficiaries subject to higher fees … lose not only money spent on higher
16    fees, but also lost investment opportunity; that is, the money that the portion of their
17    investment spent on unnecessary fees would have earned over time.” Tibble II, 843 F.3d
18    at 1198 (“It is beyond dispute that the higher the fees charged to a beneficiary, the more
19    the beneficiary’s investment shrinks.”).
20            69.    Most participants in 401(k) plans expect that their 401(k) accounts will be
21    their principal source of income after retirement. Although at all times 401(k) accounts are
22    fully funded, that does not prevent plan participants from losing money on poor investment
23    choices by plan sponsors and fiduciaries, whether due to poor performance, high fees, or
24    both.
25            70.    In fact, the Department of Labor has explicitly stated that employers are held
26    to a “high standard of care and diligence” and must both “establish a prudent process for
27    selecting investment options and service providers” and “monitor investment options and
28



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 1
      service providers once selected to see that they continue to be appropriate choices,” among
 2
      other duties. See “A Look at 401(k) Plan Fees,” supra, at 2.
 3
            71.    The duty to evaluate and monitor fees and investment costs includes fees paid
 4
      directly by plan participants to investment providers, usually in the form of an expense
 5
      ratio or a percentage of assets under management within a particular investment. See
 6
      Investment Company Institute (“ICI”), The Economics of Providing 401(k) Plans:
 7
      Services, Fees, and Expenses, (July 2016), at p. 4. “Any costs not paid by the employer,
 8
      which may include administrative, investment, legal, and compliance costs, effectively are
 9
      paid by plan participants.” Id., at 5.
10
            72.    Prudent and impartial plan sponsors thus should be monitoring both the
11
      performance and cost of the investments selected for their 401(k) plans, as well as
12    investigating alternatives in the marketplace to ensure that well-performing, low cost
13    investment options are being made available to plan participants.
14    B.    Defendants Breached Their Fiduciary Duties in Failing to Investigate and
15          Select Lower Cost Alternative Funds
16
            73.    Defendants’ breaches of their fiduciary duties, relating to their overall
17
      decision-making, resulted in the selection (and maintenance) of several funds in the Plan
18
      throughout the Class Period, including those identified below, that wasted the Plan and
19
      participants’ assets because of unnecessary costs.
20
            74.    The Supreme Court recently reaffirmed the ongoing fiduciary duty to monitor
21
      a plan’s investment options in Tibble I, 135 S. Ct. at 1823. In Tibble I, the Court held that
22
      “an ERISA fiduciary’s duty is derived from the common law of trusts,” and that “[u]nder
23
      trust law, a trustee has a continuing duty to monitor trust investments and remove
24
      imprudent ones.” Id., at 1828. In so holding, the Supreme Court referenced with approval
25
      the UPIA, treatises, and seminal decisions confirming the duty.
26
            75.    Under trust law, one of the responsibilities of the Plan’s fiduciaries is to
27
      “avoid unwarranted costs” by being aware of the “availability and continuing emergence”
28
      of alternative investments that may have “significantly different costs.”        Restatement

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 1
      (Third) of Trusts, ch. 17, intro. note (2007); see also Restatement (Third) of Trusts, § 90
 2
      cmt. B (2007) (“Cost-conscious management is fundamental to prudence in the investment
 3
      function.”). Adherence to these duties requires regular performance of an “adequate
 4
      investigation” of existing investments in a plan to determine whether any of the plan’s
 5
      investments are “improvident,” or if there is a “superior alternative investment” to any of
 6
      the plan’s holdings. Pension Ben. Gaur. Corp. ex rel. St. Vincent Catholic Med. Ctrs. Ret.
 7
      Plan v. Morgan Stanley Inv. Mgmt., 712 F.3d 705, 718-19 (2d Cir. 2013).
 8
             76.    When large plans, particularly those with over a billion dollars in assets like
 9
      the Plan here, have options which approach the retail cost of shares for individual investors
10
      or are simply more expensive than the average or median institutional shares for that type
11
      of investment, a careful review of the plan and each option is needed for the fiduciaries to
12    fulfill their obligations to the plan participants.
13           77.    The Plan has retained several actively-managed funds as Plan investment
14    options despite the fact that these funds charged grossly excessive fees compared with
15    comparable or superior alternatives, and despite ample evidence available to a reasonable
16    fiduciary that these funds had become imprudent due to their high costs.
17           78.    During the Class Period, the Plan lost millions of dollars by offering
18    investment options that had similar or identical characteristics to other lower-priced
19    investment options.
20           79.    The majority of funds in the Plan stayed relatively unchanged during the
21    Class Period. In 2018, a majority of the funds in the Plan, at least 11 out of the Plan’s 14
22    mutual funds (78%) were much more expensive than comparable funds found in similarly-
23    sized plans (plans having over a billion dollars in assets). The expense ratios for funds in
24    the Plan in some cases were up to 825% (in the case of Blackrock (Ishares) Russell 2000
25

26

27

28



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 1
      Small Cap Index A) and 294% (in the case of American Funds American Balanced Fund
 2
      R4) above the median expense ratios in the same category:6
 3
                                                                                   ICI
 4
                                                 Expense
                      Plan Fund                               ICI Category      Median
 5
                                                  Ratio7
                                                                                   Fee
 6
                                                              International
 7
            American Funds EuroPacific R4         0.84%                          0.50%
                                                                  Equity
 8
            American Funds Growth Fund of
 9
                                                  0.68%     Domestic Equity      0.33%
                      America R4
10
          American Funds American Balanced                   Non-Target Date
11                                                0.63%                          0.16%
                       Fund R4                                  Balanced
12
          American Funds Investment Company
13                                                0.64%     Domestic Equity      0.33%
                    of America R4
14
          American Funds Washington Mutual
15                                                0.62%     Domestic Equity      0.33%
                       Fund R4
16
          American Funds Income of America                  Non-Target Date
17                                                0.61%                          0.16%
                          R4                                    Balanced
18
             American Funds Bond Fund of
19                                                0.61%      Domestic Bond       0.36%
                      America R4
20
          Blackrock (Ishares) S&P 500 Index A     0.35%           Index          0.04%
21
            Blackrock (Ishares) Russell 2000
22                                                0.37%           Index          0.04%
                  Small Cap Index A
23
            Blackrock (Ishares) MSCI EAFE         0.36%           Index          0.04%
24

25
      6
26     See BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans,
      2016 at 62 (June 2019) (hereafter, “ICI Study”) available at
27
      https://www.ici.org/pdf/19_ppr_dcplan_profile_401k.pdf
28
      7
          All expense ratios are from 2019 except for the Index funds which are from 2020.
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 1
                                                                                   ICI
 2
                                                  Expense
                       Plan Fund                              ICI Category      Median
 3
                                                  Ratio7
                                                                                   Fee
 4
                  International Index A
 5
         Blackrock (Ishares) US Aggregate
 6                                                0.35%           Index          0.04%
                  Bond Index Fund A
 7

 8

 9          80.      The above comparisons understate the excessiveness of fees in the Plan
10    throughout the Class Period. That is because the ICI Median fee is based on a study
11    conducted in 2016 when expense ratios would have been higher than today given the
12    downward trend of expense ratios the last few years. Indeed, the ICI median expense ratio
13    for non-target date funds for plans with over 1 billion dollars in assets was 0.18% using
14    2015 data compared with 0.16% in 2016. Accordingly, the median expense ratios in 2020
15    utilized by similar plans would be lower than indicated above, demonstrating a greater
16    disparity between the 2019/2020 expense ratios utilized in the above chart for the Plan’s
17    current funds and the median expense ratios in the same category.
18          81.      Further, median-based comparisons also understate the excessiveness of the
19    investment management fees of the Plan’s funds because many prudent alternative funds
20    were available that offered lower expenses than the median.
21          Failure to Utilize Lower Fee Share Classes
22          82.      Many mutual funds offer multiple classes of shares in a single mutual fund
23    that are targeted at different investors.    Generally, more expensive share classes are
24    targeted at smaller investors with less bargaining power, while lower cost shares are
25    targeted at institutional investors with more assets, generally $1 million or more, and
26    therefore greater bargaining power. There is no difference between share classes other
27    than cost—the funds hold identical investments and have the same manager.
28



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 1
            83.    Large defined contribution plans such as the Plan have sufficient assets to
 2
      qualify for the lowest cost share class available. Even when a plan does not yet meet the
 3
      investment minimum to qualify for the cheapest available share class, it is well-known
 4
      among institutional investors that mutual fund companies will typically waive those
 5
      investment minimums for a large plan adding the fund in question to the plan as a
 6
      designated investment alternative. Simply put, a fiduciary to a large defined contribution
 7
      plan such as the Plan can use its asset size and negotiating power to invest in the cheapest
 8
      share class available. For this reason, prudent retirement plan fiduciaries will search for
 9
      and select the lowest-priced share class available.
10
            84.    Indeed, recently a court observed that “[b]ecause the institutional share
11
      classes are otherwise identical to the Investor share classes, but with lower fees, a prudent
12    fiduciary would know immediately that a switch is necessary. Thus, the ‘manner that is
13    reasonable and appropriate to the particular investment action, and strategies involved…in
14    this case would mandate a prudent fiduciary – who indisputably has knowledge of
15    institutional share classes and that such share classes provide identical investments at
16    lower costs – to switch share classes immediately.” Tibble, et al. v. Edison Int. et al., No.
17    07-5359, 2017 WL 3523737, at * 13 (C.D. Cal. Aug. 16, 2017) (Tibble III).
18          85.    In several instances during the Class Period, including 2018 as demonstrated
19    below, Defendants failed to prudently monitor the Plan to determine whether the Plan was
20    invested in the lowest-cost share class available for the Plan’s mutual funds. The chart
21    below uses 2019 and 2020 expense ratios to demonstrate how much more expensive
22    (difference between the lower expense ratio of the “I-Class” shares, and that of the share
23    class of the fund in the Plan, as a percentage of the lower expense ratio) the funds were
24    than their identical counterparts:
25

26

27

28



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 1
                                  Expense                             Expense      % Fee
 2
             Fund in Plan                    Lower Cost Share
                                  Ratio8                               Ratio       Excess
 3
            American Funds                     American Funds
 4
                                  0.84%                                0.49%       52.63%
             EuroPacific R4                    EuroPacific R6
 5
            American Funds                     American Funds
 6
            Growth Fund of        0.68%        Growth Fund of          0.33%       69.31%
 7
              America R4                         America R6
 8
            American Funds                     American Funds
 9
           American Balanced      0.63%      American Balanced         0.28%       76.92%
10
                Fund R4                            Fund R6
11
          Ameican Funds Small                  Ameican Funds
12                                1.05%                                0.70%       40.00%
             Cap World R4                   Small Cap World R6
13
                                               American Funds
14          American Funds
                                                  Investment
15        Investment Company      0.64%                                0.29%       75.27%
                                                 Company of
16           of America R4
                                                 America R6
17
            American Funds                     American Funds
18
           Washington Mutual      0.62%      Washington Mutual         0.27%       78.65%
19
                Fund R4                            Fund R6
20
                                             Invesco Real Estate
21        Invesco Real Estate A   1.27%                                0.80%       45.01%
                                                      R6
22
            American Funds                     American Funds
23
           Income of America      0.61%      Income of America         0.26%       80.46%
24
                   R4                                 R6
25
          American Funds Bond     0.61%        American Funds          0.25%       83.72%
26

27
      8
        The listed expense ratios for both the funds in the Plan and the available lower cost share
28
      class are from 2019 except for the last four funds listed which are Index funds and are
      from 2020.
      ______________________________________________________________________________________________
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 1
                                  Expense                             Expense      % Fee
 2
             Fund in Plan                    Lower Cost Share
                                  Ratio8                               Ratio       Excess
 3
          Fund of America R4                      Bond Fund of
 4
                                                  America R6
 5
          American Funds US                  American Funds US
 6                                0.63%                                0.25%       83.36%
           Govt Securities R4                 Govt Securities R6
 7
           Blackrock (Ishares)               Blackrock (Ishares)
 8                                0.35%                                0.03%      168.42%
           S&P 500 Index A                    S&P 500 Index K
 9
           Blackrock (Ishares)               Blackrock (Ishares)
10
           Russell 2000 Small     0.37%      Russell 2000 Small        0.07%      136.36%
11
              Cap Index A                         Cap Index K
12
                                             Blackrock (Ishares)
13         Blackrock (Ishares)
                                                  MSCI EAFE
14            MSCI EAFE           0.36%                                0.06%      142.86%
                                             International Index
15        International Index A
                                                       K
16
           Blackrock (Ishares)               Blackrock (Ishares)
17
          US Aggregate Bond       0.35%      US Aggregate Bond         0.05%      150.00%
18
             Index Fund A                         Index Fund K
19

20

21            86.   The above is for illustrative purposes only.        During the Class Period,
22    Defendants knew or should have known of the existence of cheaper share classes and
23    therefore also should have immediately identified the prudence of transferring the Plan’s
24    funds into these alternative investments.
25            87.   Utilizing A-shares for some of the Plan’s investments was a particularly
26    egregious failure of fiduciary duty. “A-shares are one type of mutual fund share class.
27    These shares target individual retail investors.” 9 They are considerably more expensive
28

      9
          See https://www.investopedia.com/terms/a/ashare.asp
      ______________________________________________________________________________________________
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 1
      than institutional share classes because, inter alia, they are “usually characterized by a
 2
      front-end sales charge when traded through a full service intermediary.” Id. In other
 3
      words, A-shares should have no place in a multi-million dollar plan, let alone a billion
 4
      dollar plan like the Plan.
 5
              88.   As noted above, qualifying for lower share classes usually requires only a
 6
      minimum of a million dollars for individual funds, although the initial investment
 7
      minimum generally is waived for financial intermediaries and retirement plans. See, e.g.,
 8
      Davis et al. v. Washington Univ. et al., 960 F.3d 478, 483 (8th Cir. 2020) (“minimum
 9
      investment requirements are ‘routinely waived’ for individual investors in large
10
      retirement-savings plans”); Sweda v. Univ. of Pennsylvania, 923 F.3d 320, 329 (3d Cir.
11
      2019) (citing Tibble II, 729 F.3d at 1137 n.24) (confirming that investment minimums are
12    typically waived for large plans).
13            89.   The following is a sampling of the assets under management as of the end of
14    2018:
15
                       Fund in Plan                        Category            2018 AUM
16
              American Funds EuroPacific R4           International Equity    $42,128,464
17
        American Funds Growth Fund of America
18
                                                       Domestic Equity        $103,388,168
                             R4
19
        American Funds American Balanced Fund          Non-Target Date
20
                                                                             $1,140,139,406
                             R4                            Balanced
21
          American Funds Small Cap World R4               World Fund          $25,506,088
22
        American Funds Investment Company of
23                                                     Domestic Equity        $23,586,314
                        America R4
24
        American Funds Washington Mutual Fund
25                                                     Domestic Equity        $59,740,293
                             R4
26
                                                          Real Estate
27                  Invesco Real Estate A                                     $17,049,261
                                                       Investment Fund
28
         American Funds Income of America R4           Non-Target Date        $16,321,670

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 1
                         Fund in Plan                        Category           2018 AUM
 2
                                                             Balanced
 3
         American Funds Bond Fund of America
 4                                                        Domestic Bond         $40,329,800
                               R4
 5
                                                          US Gov’t Bond
 6       American Funds US Govt Securities R4                                   $18,348,299
                                                               Fund
 7
                  Ishares S&P 500 Index A                      Index            $40,176,107
 8
         Ishares Russell 2000 Small Cap Index A                Index            $38,345,489
 9

10
            90.       All of the lower share class alternatives were available during the Class
11
      Period. A prudent fiduciary conducting an impartial review of the Plan’s investments
12
      would have identified the cheaper share classes available and transferred the Plan’s
13
      investments, including the above-referenced funds, into the lower share classes at the
14
      earliest opportunity.
15
            91.       Failure to do so was in violation of ERISA and the IPS which, as discussed
16
      above, required the Committee to review the entire universe of possible investment options
17
      to identify possible alternatives.
18
            92.       There is no good-faith explanation for utilizing higher cost share classes when
19
      identical lower cost share classes are available for the exact same investment. Indeed,
20
      given that the identical lower cost share classes were comprised of the same underlying
21
      investments as higher cost identical alternatives, and managed by the same investment
22
      manager, but had lower fees, they had greater returns when looking at the 1, 3, 5, and 10
23
      year average annual returns.
24
            93.       Moreover, the Plan did not receive any additional services or benefits based
25
      on its use of more expensive share classes; the only consequence was higher costs for Plan
26
      participants.     Defendants failed in their fiduciary duties either because they did not
27
      negotiate aggressively enough with their service providers to obtain better pricing or they
28
      were asleep at the wheel and were not paying attention. Either reason is inexcusable.

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 1
            94.    Additionally, it is not prudent to select higher cost versions of the same fund
 2
      even if a fiduciary believes fees charged to plan participants by the “retail” class
 3
      investment were the same as the fees charged by the “institutional” class investment, net of
 4
      the revenue sharing/revenue rebating (crediting) paid by the funds to defray the Plan’s
 5
      recordkeeping costs. Tibble III, 2017 WL 3523737, at * 8. Fiduciaries should not “choose
 6
      otherwise imprudent investments specifically to take advantage of revenue sharing” Id., at
 7
      * 11, or revenue rebating (crediting). Aside from it being completely unnecessary for a
 8
      plan of this size, revenue sharing/rebating (crediting) immediately shifts all the fees to the
 9
      Plan participants (to the detriment of participant returns). The failure to adhere to this
10
      basic tenet of good fiduciary practice resonates loudly in this case given the unreasonable
11
      recordkeeping and administrative fee arrangements put in place by Defendants.
12          95.    The term “recordkeeping” is a catchall term for the suite of administrative
13    services typically provided to a defined contribution plan by the plan’s “recordkeeper.”
14    Recordkeeping expenses can either be paid directly from plan assets, or indirectly by the
15    plan’s investments in a practice known as revenue sharing (or a combination of both or by
16    a plan sponsor). Revenue sharing payments are payments made by investments within the
17    plan, typically mutual funds, to the plan’s recordkeeper or to the plan directly, to
18    compensate for recordkeeping and trustee services that the mutual fund company
19    otherwise would have to provide.
20          96.    Although utilizing a revenue sharing approach is not per se imprudent,
21    unchecked, it is devastating for Plan participants. “At worst, revenue sharing is a way to
22    hide fees. Nobody sees the money change hands, and very few understand what the total
23    investment expense pays for. It’s a way to milk large sums of money out of large plans by
24    charging a percentage-based fee that never goes down (when plans are ignored or taken
25    advantage of). In some cases, employers and employees believe the plan is ‘free’ when it
26    is in fact expensive.” Justin Pritchard, “Revenue Sharing and Invisible Fees” available at
27    http://www.cccandc.com/p/revenue-sharing-and-invisible-fees (last visited March 19,
28    2020).

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 1
            97.    It appears that during the Class Period, the Plan participated in American
 2
      Funds’ compensation recapture program through which recordkeeping fees and other Plan
 3
      administrative costs were paid through the following structure.         The Plan’s Trustee,
 4
      Capital Bank and Trust Company (“Capital Trust” or “Trustee”) made annual revenue
 5
      credit payments, from the funds it received through revenue sharing, to a compensation
 6
      recapture account.    The account was used to pay for recordkeeping expenses which
 7
      according to Trader Joe’s remained steady at $48 per participant during the Class Period
 8
      with any excess amount purportedly paid back to the Plan.
 9
            98.    Over the years, this arrangement of placing revenue sharing funds into a
10
      compensation recapture account before disbursement to pay for Plan expenses deprived
11
      Plan participants of use of their money and millions of dollars in lost opportunity costs.
12    This particular arrangement is not the cost-conscious management contemplated under the
13    UPIA and it clearly was a waste of Plan participant money. See UPIA, § 7. Moreover,
14    this arrangement was in direct conflict with the IPS which required that “all transactions
15    undertaken by the Name Fiduciary must be in the sole interest of Plan participants and
16    their beneficiaries to provide benefits and only pay reasonable expenses of Plan
17    administration in a prudent manner.” IPS at 1.
18          99.    A more prudent arrangement in this case would have been to select available
19    lower cost investment funds that used little to no revenue sharing and for the Defendants to
20    negotiate and/or obtain reasonable per participant recordkeeping/administration fees.
21          100. There is one glaring fact that demonstrates Defendants’ failure to obtain
22    reasonable recordkeeping fees for Plan participants. Even though the number of Plan
23    participants continued to grow from 33,537 to 46,602 between 2013 and 2018, the Plan
24    always paid $48 per-participant recordkeeping fees.          And under the recordkeeping
25    agreement, even if the Plan doubled in size, it would continue to pay the same per
26    participant recordkeeping fee. Such an arrangement is counter to prevailing fiduciary
27    conduct.
28



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 1
            101. A 1998 study conducted by the Department of Labor (“1998 DOL Study”)
 2
      reflected that as the number of participants grows, a plan can negotiate lower
 3
      recordkeeping fees:10
 4
                    Number of Participants                    Avg. Cost Per Participant
 5

 6
            200                                        $42

 7          500                                        $37
 8
            1,000                                      $34
 9

10

11
            102. The fact that the Plan has stayed with the same recordkeeper over the course
12
      of the Class Period, and paid the same amount in recordkeeping fees, there is little to
13
      suggest that Defendants conducted a Request for Proposal (“RFP”) process at reasonable
14
      intervals – or certainly at any time between 2013 and the present - to determine whether
15
      the Plan could obtain better recordkeeping and administrative fee pricing from other
16
      service providers given that the market for recordkeeping is highly competitive, with many
17
      vendors equally capable of providing a high-level service.11 This is especially troubling in
18
      this case given that it has been well-documented that large plans with tens of thousands of
19

20    10
        See https://www.dol.gov/sites/dolgov/files/EBSA/researchers/analysis/ retirement/study-
21    of-401k-plan-fees-and-expenses.pdf. Given the general trend of decreasing recordkeeping
      fees, the average cost per participant from nearly 20 years ago cited in the 1998 DOL
22
      Study would be much lower today.
23    11
         A plan’s fiduciaries must remain informed about overall trends in the marketplace
24    regarding the fees being paid by other plans, as well as the recordkeeping rates that are
25
      available. This will generally include conducting an RFP at least every three to five years
      as a matter of course, and more frequently if the plans experience an increase in
26    recordkeeping costs or fee benchmarking reveals the recordkeeper’s compensation to
27    exceed levels found in other, similar plans. George v. Kraft Foods Glob., Inc., 641 F.3d
      786, 800 (7th Cir. 2011); Kruger v. Novant Health, Inc., 131 F. Supp. 3d 470, 479
28
      (M.D.N.C. 2015).

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 1
      participants like the Plan can command recordkeeping fees as low as $18 to $27 per
 2
      participant.12 Given the number of Plan participants, even a $5 to $10 annual per
 3
      participant reduction in recordkeeping costs would have saved the Plan and its participants
 4
      millions over the course of the Class Period.
 5
            103. Accordingly, the Plan participants were paying more for recordkeeping than
 6
      they should have as a result of the Plan fiduciary’s conduct. This confirms that the use of
 7
      higher-cost share classes cannot be justified as a prudent means to pay recordkeeping and
 8
      administrative costs.
 9
            104. By failing to investigate the availability of certain identical lower share
10
      classes of the same funds, Defendants caused the Plan to pay millions of dollars per year in
11
      unnecessary fees. Further, to the extent Defendants held revenue sharing amounts for a
12    prolonged period of time and failed to remit any excess revenue sharing back to Plan
13    participants in a timely manner or at all, this was a further fiduciary breach that cost Plan
14    participants millions of dollars during the Class Period.
15    C.    Defendants Breached Their Duty of Loyalty to the Plan and Its Participants
16          105. The structure of this Plan is rife with potential conflicts of interest because
17    Capital and its affiliates were placed in positions that allowed them to reap profits from the
18    Plan at the expense of Plan participants. Here, an affiliate of Capital Trust, Capital
19    Management performs the recordkeeping services for the Plan.
20          106. This conflict of interest is laid bare in this case where lower-cost mutual and
21    index funds offered by American Funds, which are owned by a subsidiary of Capital Trust,
22

23    12
         See, e.g., Spano v. Boeing, Case 06-743, Doc. 466, at 26 (S.D. Ill. Dec. 30, 2014)
24    (plaintiffs’ expert opined market rate of $37–$42, supported by defendants’ consultant’s
25
      stated market rate of $30.42–$45.42 and defendant obtaining fees of $32 after the class
      period); Spano, Doc. 562-2 (Jan 29, 2016) (declaration that Boeing’s 401(k) plan
26    recordkeeping fees have been $18 per participant for the past two years); George, 641 F.3d
27    at 798 (plaintiffs’ expert opined market rate of $20–$27 and plan paid record-keeper $43–
      $65); Gordon v. Mass Mutual, Case 13-30184, Doc. 107-2 at ¶10.4 (D.Mass. June 15,
28
      2016) (401(k) fee settlement committing the Plan to pay not more than $35 per participant
      for recordkeeping).
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 1
      were available but not selected because the higher-cost funds returned more value to
 2
      Capital Trust and Capital Management (referred to collectively as “Capital Group”). The
 3
      available lower-cost mutual and index funds from American Funds were materially similar
 4
      or identical to the Plan’s other American Funds (other than in price).
 5
            107. There appears to be no reasonable justification for the millions of dollars
 6
      collected from Plan participants that ended up in the coffers of Capital Group.
 7
            108. The Company, and the fiduciaries to whom it delegated authority, breached
 8
      their duty of undivided loyalty to Plan participants by failing to adequately supervise
 9
      Capital Group and its affiliates and ensure that the fees charged by Capital Group and its
10
      affiliates were reasonable and in the best interests of the Plan and its participants. Clearly,
11
      Defendants failed this aspect of their fiduciary duties.
12                                   FIRST CLAIM FOR RELIEF
13                     Breaches of Fiduciary Duties of Loyalty and Prudence
14                          (Asserted against the Committee Defendants)
15          109. Plaintiffs re-allege and incorporate herein by reference all prior allegations in
16    this Complaint as if fully set forth herein.
17          110. At all relevant times, the Committee Defendants (“Prudence Defendants”)
18    were fiduciaries of the Plan within the meaning of ERISA Section 3(21)(A), 29 U.S.C. §
19    1002(21)(A), in that they exercised discretionary authority or control over the
20    administration and/or management of the Plan or disposition of the Plan’s assets.
21          111. As fiduciaries of the Plan, the Prudence Defendants were subject to the
22    fiduciary duties imposed by ERISA Section 404(a), 29 U.S.C. § 1104(a). These fiduciary
23    duties included managing the assets of the Plan for the sole and exclusive benefit of Plan
24    participants and beneficiaries, and acting with the care, skill, diligence, and prudence
25    under the circumstances that a prudent person acting in a like capacity and familiar with
26    such matters would use in the conduct of an enterprise of like character and with like aims.
27          112. The Prudence Defendants breached these fiduciary duties in multiple respects
28    as discussed throughout this Complaint. They did not make decisions regarding the Plan’s

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 1
      investment lineup based solely on the merits of each investment and what was in the best
 2
      interest of Plan participants.    Instead, the Prudence Defendants selected and retained
 3
      investment options in the Plan despite the high cost of the funds in relation to other
 4
      comparable investments.        The Prudence Defendants also failed to investigate the
 5
      availability of lower-cost share classes of certain mutual funds in the Plan. Likewise, the
 6
      Prudence Defendants failed to monitor the manner in which recordkeeping services was
 7
      paid.
 8
              113. As a direct and proximate result of the breaches of fiduciary duties alleged
 9
      herein, the Plan suffered millions of dollars of losses due to excessive costs and lower net
10
      investment returns.      Had the Prudence Defendants complied with their fiduciary
11
      obligations, the Plan would not have suffered these losses, and Plan participants would
12    have had more money available to them for their retirement.
13            114. Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Prudence Defendants
14    are liable to restore to the Plan all losses caused by their breaches of fiduciary duties, and
15    also must restore any profits resulting from such breaches. In addition, Plaintiffs are
16    entitled to equitable relief and other appropriate relief for the Prudence Defendants’
17    breaches as set forth in their Prayer for Relief.
18            115. The Prudence Defendants knowingly participated in each breach of the other
19    Defendants, knowing that such acts were a breach, enabled the other Defendants to
20    commit breaches by failing to lawfully discharge such Defendant’s own duties, and knew
21    of the breaches by the other Defendants and failed to make any reasonable and timely
22    effort under the circumstances to remedy the breaches.          Accordingly, each Prudence
23    Defendant is also liable for the breaches of their co-fiduciaries under 29 U.S.C. § 1105(a).
24                                 SECOND CLAIM FOR RELIEF
25                         Failure to Adequately Monitor Other Fiduciaries
26                    (Asserted against Trader Joe’s and the Board Defendants)
27            116. Plaintiffs re-allege and incorporate herein by reference all prior allegations in
28    this Complaint as if fully set forth herein.

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            117. Trader Joe’s and the Board Defendants (the “Monitoring Defendants”) had
 2
      the authority to appoint and remove members of the Committee and were aware that the
 3
      Committee Defendants had critical responsibilities as fiduciaries of the Plan.
 4
            118. In light of this authority, the Monitoring Defendants had a duty to monitor the
 5
      Committee Defendants to ensure that the Committee Defendants were adequately
 6
      performing their fiduciary obligations, and to take prompt and effective action to protect
 7
      the Plan in the event that the Committee Defendants were not fulfilling those duties.
 8
            119. The Monitoring Defendants also had a duty to ensure that the Committee
 9
      Defendants possessed the needed qualifications and experience to carry out their duties (or
10
      used qualified advisors and service providers to fulfill their duties); had adequate financial
11
      resources and information; maintained adequate records of the information on which they
12    based their decisions and analysis with respect to the Plan’s investments; and reported
13    regularly to the Monitoring Defendants.
14          120. The Monitoring Defendants breached their fiduciary monitoring duties by,
15    among other things:
16                 (a)   Failing to monitor and evaluate the performance of the Committee
17                       Defendants or have a system in place for doing so, standing idly by as
18                       the Plan suffered significant losses in the form of unreasonably high
19                       expenses, and imprudent choices of funds’ class of shares that
20                       adversely affected the investment performance of the Funds’ and their
21                       participants’ assets as a result of the Committee Defendants’ imprudent
22                       actions and omissions;
23                 (b)   Failing to monitor the processes by which Plan investments were
24                       evaluated, and the Committee Defendants’ failure to investigate the
25                       availability of lower-cost share classes; and
26                 (c)   Failing to remove Committee members whose performance was
27                       inadequate in that they continued to maintain imprudent, excessively
28                       costly, and poorly performing investments within the Plan, and caused

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 1
                          the Plan to pay unreasonable recordkeeping fees, all to the detriment of
 2
                          the Plan and Plan participants’ retirement savings.
 3
            121. As a consequence of the foregoing breaches of the duty to monitor, the Plan
 4
      suffered millions of dollars of losses. Had the Monitoring Defendants complied with their
 5
      fiduciary obligations, the Plan would not have suffered these losses, and Plan participants
 6
      would have had more money available to them for their retirement.
 7
            122. Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Monitoring Defendants
 8
      are liable to restore to the Plan all losses caused by their failure to adequately monitor the
 9
      Committee Defendants. In addition, Plaintiffs are entitled to equitable relief and other
10
      appropriate relief as set forth in their Prayer for Relief.
11
                                         PRAYER FOR RELIEF
12
            WHEREFORE, Plaintiffs pray that judgment be entered against Defendants on all
13
      claims and requests that the Court awards the following relief:
14
            A.     A determination that this action may proceed as a class action under Rule
15
      23(b)(1), or in the alternative Rule 23(b)(2), of the Federal Rules of Civil Procedure;
16
            B.     Designation of Plaintiffs as Class Representatives and designation of
17
      Plaintiffs’ counsel as Class Counsel;
18
            C.     A Declaration that the Defendants, and each of them, have breached their
19
      fiduciary duties under ERISA;
20
            D.     An Order compelling the Defendants to make good to the Plan all losses to
21
      the Plan resulting from Defendants’ breaches of their fiduciary duties, including restoring
22
      to the Plan all losses resulting from imprudent investment of the Plan’s assets, restoring to
23
      the Plan all profits the Defendants made through use of the Plan’s assets, and restoring to
24
      the Plan all profits which the participants would have made if the Defendants had fulfilled
25
      their fiduciary obligations;
26
            E.     An order requiring the Company Defendant to disgorge all profits received
27
      from, or in respect of, the Plan, and/or equitable relief pursuant to 29 U.S.C. § 1132(a)(3)
28
      in the form of an accounting for profits, imposition of a constructive trust, or a surcharge
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      against the Company Defendant as necessary to effectuate said relief, and to prevent the
 2
      Company Defendant’s unjust enrichment;
 3
            F.     Actual damages in the amount of any losses the Plan suffered, to be allocated
 4
      among the participants’ individual accounts in proportion to the accounts’ losses;
 5
            G.     An order enjoining Defendants from any further violations of their ERISA
 6
      fiduciary responsibilities, obligations, and duties;
 7
            H.     Other equitable relief to redress Defendants’ illegal practices and to enforce
 8
      the provisions of ERISA as may be appropriate, including appointment of an independent
 9
      fiduciary or fiduciaries to run the Plan and removal of Plan fiduciaries deemed to have
10
      breached their fiduciary duties;
11
            I.     An award of pre-judgment interest;
12          J.     An award of costs pursuant to 29 U.S.C. § 1132(g);
13          K.     An award of attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and the common
14    fund doctrine; and
15          L.     Such other and further relief as the Court deems equitable and just.
16                                            Respectfully submitted,
17
      Dated: June 29, 2020                    ROSMAN & GERMAIN LLP
18

19

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